Case 23-20084-rlj7          Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14                   Desc Main
                                      Document      Page 1 of 47


HUDSON M. JOBE
JOBE LAW PLLC
6060 NORTH CENTRAL EXPRESSWAY,
SUITE 500
DALLAS, TEXAS 75206

ALAN DABDOUB
LYNN PINKER HURST & SCHWEGMANN LLP
2100 ROSS AVENUE, SUITE 2700
DALLAS, TEXAS 75201

SPECIAL COUNSEL TO THE TRUSTEE

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     AMARILLO DIVISION

    IN RE:                                                                   Chapter 7

    MCCLAIN FEED YARD, INC., MCCLAIN                                 CASE NO. 23-20084-rlj
    FARMS, INC., AND 7M CATTLE
    FEEDERS, INC.,                                                     Jointly Administered

             Debtors.1


    KENT RIES, CHAPTER 7 TRUSTEE FOR
    THE BANKRUPTCY ESTATES OF
    MCCLAIN FEED YARD, INC., MCCLAIN
    FARMS, INC., AND 7M CATTLE
    FEEDERS, INC.,                                        ADV. PROC. NO. ___________________

             Plaintiff,                                             Honorable Robert L. Jones

    v.

    ANGELA ROBINSON, TERRY
    ROBINSON, REBECCA ROBINSON, 2B
    FARMS, ARNOLD BRAUN, ARNOLD
    BRAUN TRUST, ROBERT BRUAN, C
    HEART RANCH LLC, COLETTE LESH
    F/K/A COLETTE BROOKS, JAN LESH,
    GARY LESH, JARED LESH, LESH
    TRUCKING, JOEL LESH, LAZY J ARENA,
    MORRISON CAFÉ, GARY LESH TRUST,

1
 The Debtors in these chapter 7 cases are: McClain Feed Yard, Inc. (Case No. 23-20084-RLJ), McClain Farms, Inc.
(Case No. 23-20085-RLJ), and 7M Cattle Feeders, Inc. (Case No. 23-20086-RLJ).


                                                                                                         Page 1
Case 23-20084-rlj7   Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14   Desc Main
                               Document      Page 2 of 47



 LESH FAMILY TRUST, KATIE LESH,
 JORDAN LESH, JARED LESH
 COWHORSES, INC., GRAY BROTHERS
 CATTLE, GRAY FAMILY TRUST,
 RONNIE GRAY, ROBERT GRAY,
 BRADLEY GUNGOLL, GUNGOLL
 CATTLE LLC, WADE GUNGOLL,
 WILLIAM GUNGOLL, WYATT
 GUNGOLL, CORY JESKO, JEFF JESKO,
 DWIGHT JESKO, PATRICIA JESKO,
 DANIEL JESKO, DANIEL JESCO FARMS,
 DON JONES TRUCKING, CURT JONES,
 KINSEY JONES, CURTIS JONES FARMS,
 DON JONES FARM, INC., DON JONES,
 JONES FAMILY CATTLE, RIDGEFIELD
 CAPITAL, ROBERT ELLIS, ELIZABETH
 ELLIS, ROBERT AND ELIZABETH
 FAMILY FOUNDATION, TGF RANCH,
 THOMAS FRITH, WILDFOREST CATTLE
 CO., SAM BROWN, COLBY
 VANBUSKIRK, LYNDAL VANBUSKIRK,
 JANET VANBUSKIRK, FRANK
 VANBUSKIRK, SUSAN VANBUSKIRK,
 SAM VANBUSKIRK, CHARLES
 LOCKWOOD, NIKKI LOCKWOOD, COLE
 LOCKWOOD, SHERLE LOCKWOOD,
 PRIEST VICTORY INVESTMENTS,
 PRIEST CATTLE, COREY PRIEST,
 TYLER PITTMAN, PITTMAN FARMS,
 DAC83 LLC, OPEN A ARENA, DOUG
 PRITCHETT, 2DEEP CONSTRUCTION
 LLC, BRANDON DUFURRENA, RIETA
 DUFURRENA, ED DUFURRENA,
 SCARLET & BLACK CATTLE, LLC, RED
 RAIDER CATTLE, LLC, CARRAWAY
 CATTLE LLC, RICHARD CARRAWAY,
 ROBERT CARRAWAY, GENE
 BROOKSHIRE FAMILY LP, JOEL
 BROOKSHIRE, CARLA BROOKSHIRE,
 PHILIP RAPP, RAPP RANCH, BIG SEVEN
 CAPITAL PARTNERS, BRYAN
 BLACKMAN, BRAVO GOLF AVIATION
 LLC, DENNIS BUSS, EDWIN BUSS,
 BETTYE BUTLER, BILLY BUTLER,
 CALEB LITTLE, DANNIE WINFREY,
 DIAMOND B PRODUCTIONS LLC, ERIC

                                                                               Page 2
Case 23-20084-rlj7       Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14      Desc Main
                                   Document      Page 3 of 47



 DEJARNATT, EDWIN STEWART,
 ERNEST GARD, GALE FORCE QUARTER
 HORSES, GARWOOD CATTLE
 COMPANY, J&S INVESTMENTS, JIM
 RININGER, JIMMY GREER, PEGGY
 GREER, JOE BURNETT, DUSTIN
 JOHNSON, KEITH HARRIS FARMS, MAP
 ENTERPRISES, MICHAEL COOPER,
 PATRICK BAKER, RALPH REISZ,
 VERONICA REISZ, ROBERT STEWART,
 ROGER WELCH, ROSE VALLEY RANCH,
 SAWMILL CREEK LLC, SCOTT
 STEWART, SCOTT LIVESTOCK,
 STANLEY KEITH MYERS, TOMMY
 MANION RANCH, INC., BRENT
 BURNETT, CODIE PERRY, MYKEL
 TIDWELL, RICK RODGERS, STANLEY
 AYERS, THORLAKSON DIAMOND T
 FEEDERS, WILEY ROBY RUSSELL JR.,
 WJ PERFORMANCE HORSES,
 HEARTLAND COOP, LAND O LAKES AG
 SERVICE, REINERT HAY CO., VET
 INDUSTRIES FEED & SUPPLY, WHITE
 ENERGY, CRYSTAL MCCLAIN,
 CHELSEA MCCLAIN, PIPER MCCLAIN,
 AND KRISTIN MCCLAIN,

        Defendants.

                  TRUSTEE’S ORIGINAL COMPLAINT FOR
     (1) AVOIDANCE AND RECOVERY OF PREFERENCES AND FRAUDULENT
            TRANSFERS; (2) DISALLOWANCE AND SUBORDINATION
                    OF CLAIMS; AND (3) OTHER RELIEF

       Kent Ries, the Chapter 7 Trustee of the bankruptcy estates of McClain Feed Yard, Inc.

(Case No. 23-20084-RLJ), McClain Farms, Inc. (Case No. 23-20085-RLJ), and 7M Cattle Feeders,

Inc. (Case No. 23-20086-RLJ) (the “Trustee”), files his Original Complaint for: (1) Avoidance

and Recovery of Preferences and Fraudulent Transfers; (2) Disallowance and Subordination of

Claims; and (3) Other Relief with knowledge as to his own acts and otherwise upon information

and belief as follows:



                                                                                        Page 3
Case 23-20084-rlj7      Doc 330     Filed 03/02/25 Entered 03/02/25 18:27:14              Desc Main
                                   Document      Page 4 of 47



                                            SUMMARY

       1.      A Ponzi scheme is “[a] fraudulent investment scheme in which money contributed

by later investors generates artificially high dividends or returns for the original investors, whose

example attracts even larger investments.” PONZI SCHEME, Black's Law Dictionary (11th ed.

2019); Janvey v. Alguire, 647 F.3d 585 (5th Cir. 2011). In a Ponzi scheme, “a corporation operates

and continues to operate at a loss.” Alguire, 647 F.3d at 597-98 (quoting Hirsch v. Arthur Andersen

& Co., 72 F.3d 1085, 1088 n. 3 (2d Cir. 1995)). It gives the appearance of being profitable by

obtaining new investors and using those investments to pay for the high premiums promised to

earlier investors. Id. “The effect of such a scheme is to put the corporation farther and farther into

debt by incurring more and more liability and to give the corporation the false appearance of

profitability in order to obtain new investors.” Id. As a matter of law, a Ponzi scheme is insolvent

from its inception. Id.; Janvey v. Golf Channel, Inc., 487 S.W.3d 560, 563 (Tex. 2016) (“a Ponzi

scheme … is driven further into insolvency with each transaction”). “While Ponzi schemes have

been defined in different ways, they are, at bottom, investment scams. A Ponzi scheme is not a

legitimate business, and investment deals are different from debtor-creditor relations.” In re

Reagor-Dykes Motors, LP, No. 18-50214-RLJ-11, 2022 WL 2046144 at 7 (Bankr. N.D. Tex. June

3, 2022).

       2.      The Debtors operated a massive Ponzi scheme involving purported investments in

cattle. The ultimate purpose of this bankruptcy case will be to make the maximum distribution

possible to innocent parties that suffered net losses by properly adjusting allowed claims and

maximizing the pool of assets that will be available for distribution.

       3.      The Trustee may avoid transfers made with the actual intent to hinder, delay, or

defraud creditors. “[T]ransfers made from a Ponzi scheme are presumptively made with intent to



                                                                                                Page 4
Case 23-20084-rlj7          Doc 330       Filed 03/02/25 Entered 03/02/25 18:27:14                        Desc Main
                                         Document      Page 5 of 47



defraud, because a Ponzi scheme is, as a matter of law, insolvent from inception.” Quilling v.

Schonsky, 247 F. App’x 583, 586 (5th Cir. 2007); see also Warfield v. Byron, 436 F.3d 551, 558

(5th Cir. 2006). Because it was a Ponzi scheme, transfers from the Debtors are conclusively

presumed to have been made with the requisite fraudulent intent. As the Fifth Circuit opined in

the Brown appeal:

                       TUFTA provides that “a transfer made or obligation incurred
                       by a debtor is fraudulent as to a creditor . . . if the debtor
                       made the transfer or incurred the obligation . . . with actual
                       intent to hinder, delay, or defraud any creditor of the debtor.”
                       Thus, “TUFTA requires that the debtor transferor make the
                       transfer ‘with actual intent to . . . defraud any creditor of the
                       debtor.’” “In this circuit, proving that [a transferor] operated
                       as a Ponzi scheme establishes the fraudulent intent behind
                       the transfers it made.” . . . It is well-established that the
                       Stanford principles operated the Stanford entities as a Ponzi
                       scheme, and the existence of the Ponzi scheme establishes
                       fraudulent intent. In other words, this is not the case of an
                       innocent debtor preferring one creditor over another; instead,
                       this was an insolvent Ponzi scheme perpetuated by paying
                       old investors with new investors’ investments. We agree
                       with the district court that the Receiver established that the
                       Stanford principles transferred monies to the investor-
                       defendants with fraudulent intent.

    767 F.3d at 438-39 (quoting TEX. BUS. & COM. CODE ANN. § 24.005(a)(1); Alguire,
    647 F.3d at 598) (emphasis in original).2




2
  The existence of a Ponzi scheme satisfies some key elements for clawback claims commonly brought against
transferees. The Bankruptcy Code and Texas Uniform Fraudulent Transfer Act (“TUFTA”) both generally permit
recovery of transfers made with actual intent to hinder, delay, or defraud creditors. 11 U.S.C. § 548(a)(1)(A); T EX.
BUS. & COMM. CODE § 24.005(a)(1). Fraudulent intent is established by the existence of a Ponzi scheme. In re
Reagor-Dykes Motors, LP, 2022 WL 2046144, at *3–4 (“In this circuit, proving that [the transferor] operated as a
Ponzi scheme establishes the fraudulent intent behind the transfers it made”) (quoting Sec. & Exch. Comm'n. v. Res.
Dev. Int'l, LLC, 487 F.3d 295, 301 (5th Cir. 2007)). “[T]ransfers from a Ponzi scheme are presumptively made with
intent to defraud, because a Ponzi scheme is, ‘as a matter of law, insolvent from its inception.’ The burden then shifts
to the recipient of Ponzi-generated funds to prove an applicable TUFTA defense.” Am. Cancer Soc. v. Cook, 675 F.3d
524, 527 (5th Cir. 2012).

                                                                                                                 Page 5
Case 23-20084-rlj7      Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14              Desc Main
                                  Document      Page 6 of 47



       4.      The Debtors were running a Ponzi scheme and, to keep the scheme going, paid

investors and other parties with funds from other investors. The Trustee is, therefore, entitled

to disgorgement of the fraudulently transferred funds.

       5.      The burden is on the receiving parties to establish an affirmative defense, if

any, of both objective good faith and provision of reasonably equivalent value. TEX. BUS.

& COM. CODE ANN. § 24.009(a); Hahn v. Love, 321 S.W.3d 517, 526 (Tex. App. —

Houston [1st Dist.] 2009, pet. denied) (citing Flores v. Robinson Roofing & Constr. Co., Inc.,

161 S.W.3d 750, 756 (Tex. App. — Fort Worth 2005, pet denied.));; see also UNIF.

FRAUDULENT TRANSFER ACT § 8 CMT. 1 (“The person who invokes this defense

carries the burden of establishing good faith and the reasonable equivalence of the

consideration exchanged.”); Scholes, 56 F.3d at 756-57 (“If the plaintiff proves fraudulent

intent, the burden is on the defendant to show that the fraud was harmless because the debtor’s

assets were not depleted even slightly.”).

       6.      The Trustee is, therefore, entitled to recover the full amount of transfers unless

the recipient proves both objective good faith and reasonably equivalent value.

       7.      With respect to investors, no reasonably equivalent value was provided for any

net winnings. See Brown, 767 F.3d 430, passim; [Case No. 3:09-CV-0724-N-BG, Doc. 909].

       8.      Second, the good-faith element of the affirmative defense requires that the

recipient prove objective — not subjective — good faith. Byron, 436 F.3d at 559-560

(good faith is determined under an “objectively knew or should have known” standard); Smith

v. Suarez (In re IFS Fin. Corp.), 417 B.R. 419, 442 (Bankr. S.D. Tex. 2009) (objective standard

is applied to determine good faith); Quilling v. Stark, No. 3-05-CV-1976-BD, 2007 WL

415351, at *3 (N.D. Tex. Feb. 7, 2007) (“good faith . . . must be analyzed under an objective,



                                                                                               Page 6
Case 23-20084-rlj7      Doc 330     Filed 03/02/25 Entered 03/02/25 18:27:14               Desc Main
                                   Document      Page 7 of 47



rather than a subjective, standard. The relevant inquiry is what the transferee objectively knew

or should have known instead of examining the transferee’s actual knowledge from a

subjective standpoint.”) (internal citations and quotation marks omitted); see also Templeton v.

O’Cheskey (In re Am. Hous. Found.), 785 F.3d 143, 164 (5th Cir. 2015); GE Capital

Commercial, Inc. v. Worthington Nat’l Bank, 754 F.3d 297, 301, 312 (5th Cir. 2014); Horton v.

O’Cheskey (In re Am. Hous. Found.), 544 F. App’x 516, 520 (5th Cir. 2013); Citizens Nat’l

Bank of Tex. v. NXS Constr., Inc., 387 S.W.3d 74, 85-86 (Tex. App. — Houston [14th Dist.]

2012, no pet.); Hahn, 321 S.W.3d at 527.

       9.      The recipient does not receive a transfer in good faith under § 548 when: (1) the

recipient was on inquiry notice that the transferor was insolvent or that the transfer might be

made with a fraudulent purpose; and (2) if put on inquiry notice, the transferee failed to engage

in a diligent investigation. In re Reagor-Dykes Motors, LP, 2022 WL 2046144 at *11; see also

In re Am. Hous. Found., 785 F.3d at 164. Whether a party was on inquiry notice takes into

account “the circumstances specific to the transfer at issue—that is, whether a transferee

reasonably should have known ... of the fraudulent intent underlying the transfer.” In re Am.

Hous. Found., 785 F.3d at 164.

       10.     Transfers to insiders subject the transfers to heavy scrutiny. See Hahn, 321

S.W.3d at 526 n.8 (“[I]nsider status is not limited to the four subjects listed in [TUFTA] section

24.002(7); rather, the list is provided ‘for purposes of exemplification.’ In general, an ‘insider’

is ‘an entity whose close relationship with the debtor subjects any transactions made between

the debtor and the insider to heavy scrutiny.’ In determining insider status, courts are to

consider (1) the closeness of the relationship between the transferee and the debtor and

(2) whether the transactions were at arm’s length.”) (citations omitted); see also In re



                                                                                                 Page 7
Case 23-20084-rlj7      Doc 330     Filed 03/02/25 Entered 03/02/25 18:27:14            Desc Main
                                   Document      Page 8 of 47



Holloway, 955 F.2d 1008, 1010-11 (5th Cir. 1992); Bank of Am., N.A. v. Fulcrum Enters, LLC,

20 F. Supp. 3d 594, 604-05 (S.D. Tex. 2014); Tel. Equip. Network, Inc. v. TA/Westchase Place,

Ltd., 80 S.W.3d 601, 609 (Tex. App. — Houston [1st Dist.] 2002, no pet.); Jackson Law Office,

P.C. v. Chappell, 37 S.W.3d 15, 25-26 (Tex. App. — Tyler 2000, pet. denied); J. Michael

Putman, M.D.P.A. Money Purchase Pension Plan v. Stephenson, 805 S.W.2d 16, 18 (Tex.

App.— Dallas 1991, no writ).

       11.     Transfers made in furtherance of a Ponzi scheme may also be exempt from the

ordinary course of business defense that otherwise applies to preference payments under 11

U.S.C. § 547(c)(2)(A) and similar provisions. See In re Am. Hous. Found., 785 F.3d 143, 160-

61 (5th Cir. 2015), as revised (June 8, 2015) (collecting cases). “The theory underlying the

Ponzi exception to the ordinary course of business defense is that Ponzi schemes simply are

not legitimate business enterprises which Congress intended to protect with section 547(c)(2).”

Id. at 161) (internal quotations omitted).

       12.     This exception is “narrow” and only applies to a “true Ponzi scheme”—i.e., one

where the “operations built on the collection of funds from new investments to pay off prior

investors.” Id. The Ponzi scheme exception does not apply when there are merely “some

fraudulent or Ponzi-like transactions.” Id.; see also In re Reagor-Dykes Motors, LP, 2022 WL

2046144, at *5.

       13.     In addition to statutory remedies, trustees/receivers can allege common law

claims that accomplish the same thing. For example, a constructive trust is an equitable remedy

that may be imposed if the following elements are present: (1) actual or constructive fraud; (2)

unjust enrichment of the wrongdoer; and (3) tracing of the property over which the trust is

placed to some identifiable res in which the plaintiff has an interest. Am. Cancer Soc. v. Cook,



                                                                                              Page 8
Case 23-20084-rlj7     Doc 330     Filed 03/02/25 Entered 03/02/25 18:27:14             Desc Main
                                  Document      Page 9 of 47



675 F.3d 524, 529–30 (5th Cir. 2012). Similarly, money had and received is an appropriate

remedy to address unjust enrichment where a defendant holds money that in equity and good

conscience belongs to plaintiff. See, e.g., Crawford v. Bleeden, No. 3:21-CV-2181-X, 2023

WL 2414009, at *6 (N.D. Tex. Mar. 8, 2023); Taylor v. Trevino, 569 F. Supp. 3d 414, 436

(N.D. Tex. 2021); Thomas v. Hopkins, No. 3:20-CV-576-S (BK), 2021 WL 4268483, at *3

(N.D. Tex. Aug. 26, 2021), report and recommendation adopted, No. 3:20-CV-576-S-BK,

2021 WL 4267510 (N.D. Tex. Sept. 20, 2021). Moreover, under TUFTA, the Trustee is entitled

to attorney’s fees and costs. See TEX. BUS. & COM. CODE ANN. § 24.013 (“[T]he court

may award costs and reasonable attorney’s fees as are equitable and just.”).

                                JURISDICTION AND VENUE

       14.     On April 28, 2023, McClain Feed Yard, Inc. (“MFY”), McClain Farms, Inc.

(“MFI”), and 7M Cattle Feeders, Inc. (“7M”) (collectively, the “Debtors”) filed voluntary

petitions for relief under Chapter 7 of the Bankruptcy Code with this Court. The Trustee is the

appointed and acting Chapter 7 Trustee in each of the Debtors’ bankruptcy cases.

       15.     This Court has jurisdiction over this adversary proceeding under 28 U.S.C.

§§157(a)- (b) and 1334. This is a core proceeding as defined under 28 U.S.C. § 157(b). Venue is

proper in this Court under 28 U.S.C. §§ 1408 and 1409.

                                     INVESTOR PARTIES

       16.     The following chart identifies the investor parties to this adversary proceeding, the

total payments they received during the 90-day period subject to avoidance as a preference, the




                                                                                              Page 9
Case 23-20084-rlj7           Doc 330      Filed 03/02/25 Entered 03/02/25 18:27:14                           Desc Main
                                         Document     Page 10 of 47



total payments that they received from the Debtors subject to avoidance as a fraudulent transfer,

the corresponding exhibit with the payment detail, and where the parties are believed to reside: 3




                                       Robinson Group: Snyder, Texas

           Name                 Payments Received                Total Payments                      Exhibit
                                 1/28/23 - 4/28/23                  Received
     Angela Robinson               $223,057.46                    $2,397,731.24                          1

    Terry and Rebecca                      n/a                    $9,653,108.15                          2
        Robinson
        2B Farms                  $ 104,354,798.76               $264,945,582.72                         3

                                     Braun Group: Grandview, Indiana

           Name                 Payments Received                Total Payments                      Exhibit
                                 1/28/23 - 4/28/23                  Received
    Arnold Braun and              $1,072,560.07                   $8,140,493.99                          4
    Arnold Braun Trust
      Robert Braun                   $701,994.35                  $5,081,724.30                          5

           Lesh Group: Ardmore, Oklahoma; Perry, Oklahoma; Whitesboro, Texas

           Name                 Payments Received                Total Payments                      Exhibit
                                 1/28/23 - 4/28/23                  Received
    C Heart Ranch LLC               $95,300.00                   $38,739,674.36                          6

    Colette Lesh/ f/k/a                    n/a                    $21,811,373.37                         7
     Colette Brooks
        Jan Lesh                      $88,382.83                  $15,259,907.31                         8

       Gary Lesh                     $88,382.83                    $9,927,438.78                         9
       Jared Lesh                   $1,412,994.79                  $8,417,663.84                        10
     Lesh Trucking                   $44,661.00                     $565,625.05                         11
        Joel Lesh                        n/a                      $23,276,411.74                        12
      Lazy J Arena                   $19,575.00                  $229,446,486.29                        13
     Morrison Café                       n/a                        $676,231.54                         14
     Gary Lesh Trust                     n/a                       $1,837,980.09                        15

3
  With respect to the grouping of parties, it is unclear whether certain parties intended to invest as a group or
separately based upon the available records and the Trustee’s investigation and analysis thus far. The Trustee
reserves the right to amend to separately or collectively allocate transfers between the parties.

                                                                                                                    Page 10
Case 23-20084-rlj7          Doc 330      Filed 03/02/25 Entered 03/02/25 18:27:14                        Desc Main
                                        Document     Page 11 of 47



     Lesh Family Trust                   n/a                    $57,655,823.17                        16
         Katie Lesh                      n/a                      $21,175.79                          17
        Jordan Lesh                  $427,822.47                $16,657,341.45                        18
         Jared Lesh                  $510,550.80                 $514,316.30                          19
      Cowhorses, Inc.

                                     Gray Group: Ralston, Oklahoma

           Name                 Payments Received               Total Payments                     Exhibit
                                 1/28/23 -4/28/23                  Received
    Gray Brothers Cattle,          $936,349.65                   $7,818,568.86                        20
     Gray Family Trust,
     Ronnie Gray, and
       Robert Gray4

                                  Gungoll Group: Stillwater, Oklahoma

           Name                 Payments Received               Total Payments                     Exhibit
                                 1/28/23 -4/28/23                  Received
     Bradley Gungoll                   n/a                       $1,269,594.01                        21
    Gungoll Cattle LLC                 n/a                        $940,764.55                         22
      Wade Gungoll                     n/a                        $563,025.63                         23
     William Gungoll                   n/a                        $562,471.56                         24
      Wyatt Gungoll                    n/a                         $900,142.13                        25

                                       Jesko Group: Hereford, Texas

           Name                 Payments Received               Total Payments                     Exhibit
                                 1/28/23 -4/28/23                  Received
    Cory and Jeff Jesko             $91,401.30                    $271,781.55                         26
    Dwight and Patricia                 n/a                      $3,669,756.02                        27
           Jesko
     Daniel Jesko and                     n/a                     $506,873.44                         28
    Daniel Jesco Farms

                           Jones Group: Emporia, Kansas; Reading, Kansas

           Name                 Payments Received               Total Payments                     Exhibit
                                 1/28/23 -4/28/23                  Received
    Don Jones Trucking                 n/a                       $2,850,235.94                        29



4
  Based upon the investments and payments, the Trustee believes that certain investments by these parties were
intended to be joint investments by these parties such that the repayment of those investments was for all of their
benefit.

                                                                                                               Page 11
Case 23-20084-rlj7          Doc 330      Filed 03/02/25 Entered 03/02/25 18:27:14                        Desc Main
                                        Document     Page 12 of 47



      Curt and Kinsey                     n/a                   $13,058,806.26                        30
      Jones and Curtis
        Jones Farms
    Don Jones Farm, Inc.           $4,538,985.36                $49,719,996.73                        31
    Don Jones and Jones                 n/a                     $15,208,702.23                        32
       Family Cattle


                       Ellis Group: Easton, Maryland; Ridgefield, Connecticut

           Name                 Payments Received               Total Payments                     Exhibit
                                 1/28/23 -4/28/23                  Received
     Ridgefield Capital                n/a                      $17,020,315.29                        33
        Robert Ellis,                  n/a                       $1,460,210.14                        34
     Elizabeth Ellis and
    Robert and Elizabeth
    Family Foundation5

                                     Frith Group: Hastings, Michigan

           Name                 Payments Received               Total Payments                     Exhibit
                                 1/28/23 -4/28/23                  Received
        TGF Ranch                  $866,486.95                   $9,115,517.93                        35
       Thomas Frith                    n/a                        $588,473.55                         36

                                  Wildforest Group: Mayfield, Kentucky

           Name                 Payments Received               Total Payments                     Exhibit
                                 1/28/23 -4/28/23                  Received
    Wildforest Cattle Co.         $57,028,498.63                $66,361,991.91                        37

        Sam Brown                         n/a                   $50,344,455.74                        38

                                Vanbuskirk Group: Ringling, Oklahoma

           Name                 Payments Received               Total Payments                     Exhibit
                                 1/28/23 -4/28/23                  Received
     Colby Vanbuskirk              $1,851,180.61                $12,810,168.56                        39
     Lyndal Vanbuskirk            $11,087,101.73                $52,080,407.68                        40
      Janet Vanbuskirk                  n/a                      $1,711,865.58                        41
     Frank Vanbuskirk                   n/a                      $3,364,701.11                        42
     Susan Vanbuskirk              $1,851,180.61                 $9,636,573.85                        43

5
  Based upon the investments and payments, the Trustee believes that certain investments by these parties were
intended to be joint investments by these parties such that the repayment of those investments was for all of their
benefit.

                                                                                                               Page 12
Case 23-20084-rlj7          Doc 330      Filed 03/02/25 Entered 03/02/25 18:27:14                        Desc Main
                                        Document     Page 13 of 47



      Sam Vanbuskirk                      n/a                     $516,867.13                         44

                       Lockwood Group: Ringling, Oklahoma; Canyon, Texas

           Name                 Payments Received               Total Payments                     Exhibit
                                 1/28/23 -4/28/23                  Received
     Charles Lockwood             $6,106,054.75                 $44,233,220.48                        45
      Nikki Lockwood              $1,583,335.75                  $8,050,440.32                        46
      Cole Lockwood               $2,344,917.44                 $14,098,621.05                        47
     Sherle Lockwood              $2,339,864.70                 $17,441,698.30                        48

                                        Priest Group: Lorena, Texas

           Name                 Payments Received               Total Payments                     Exhibit
                                 1/28/23 -4/28/23                  Received
       Priest Victory              $593,820.85                  $12,463,386.95                        49
        Investments
        Priest Cattle                $576,548.90                $37,047,876.24                        50
        Corey Priest                     n/a                     $1,818,248.38                        51

                                   Pittman Group: Lacenter, Kentucky

           Name                 Payments Received               Total Payments                     Exhibit
                                 1/28/23 -4/28/23                  Received
       Tyler Pittman                   n/a                       $4,982,587.68                        52
       Pittman Farms                   n/a                        $438,673.02                         53

                           Pritchett Group: Canyon, Texas; Amarillo, Texas

           Name                 Payments Received               Total Payments                     Exhibit
                                 1/28/23 -4/28/23                  Received
        DAC83 LLC                      n/a                        $460,945.54                         54
    Open A Arena, Doug             $387,958.03                   $5,533,236.07                        55
    Pritchett, and 2Deep
     Construction LLC6

                                   Dufurrena Group: Gainesville, Texas

           Name                 Payments Received               Total Payments                     Exhibit
                                 1/28/23 -4/28/23                  Received
     Brandon and Rieta               $144,550.16                 $1,528,324.02                        56
        Dufurrena
6
  Based upon the investments and payments, the Trustee believes that certain investments by these parties were
intended to be joint investments by these parties such that the repayment of those investments was for all of their
benefit.

                                                                                                               Page 13
Case 23-20084-rlj7       Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14    Desc Main
                                   Document     Page 14 of 47



     Ed Dufurrena              $403,727.24            $7,937,323.22            57

                           Colton Scott Long Group: Amarillo, Texas

        Name               Payments Received        Total Payments        Exhibit
                            1/28/23 -4/28/23           Received
    Scarlet & Black           $2,684,942.99          $16,635,991.60            58
      Cattle, LLC
   Red Raider Cattle,               n/a               $1,643,120.82            59
         LLC

                 Carraway Group: Cincinnati, Ohio; Dyersburg, Tennessee

        Name               Payments Received        Total Payments        Exhibit
                            1/28/23 -4/28/23           Received
 Carraway Cattle LLC          $381,157.84                 n/a                  60
  Richard Carraway                n/a                $9,316,708.71             61
   Robert Carraway                n/a                $3,227,300.39             62

                               Brookshire Group: Crosby, Texas

        Name               Payments Received        Total Payments        Exhibit
                            1/28/23 -4/28/23           Received
   Gene Brookshire            $204,372.38                 n/a                  63
      Family LP
    Joel and Carla             $180,798.74            $2,044,984.31            64
      Brookshire

                               Rapp Group: Weatherford, Texas

        Name               Payments Received        Total Payments        Exhibit
                            1/28/23 -4/28/23           Received
      Philip Rapp                 n/a                 $261,399.07              65
      Rapp Ranch                  n/a                $5,268,189.85             66

                                          Other Investors

      Name              Payments          Total Payments       Exhibit     Residence
                        Received             Received
                     1/28/23 -4/28/23
    Big Seven          $593,433.15         $1,891,554.95          67     Unknown at this
 Capital Partners                                                            time
 Bryan Blackman         $1,371,001.26     $12,741,702.61          68       Healdton,
                                                                           Oklahoma


                                                                                    Page 14
Case 23-20084-rlj7     Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14   Desc Main
                                 Document     Page 15 of 47



   Bravo Golf              n/a          $529,195.49         69         Crosby, Texas
  Aviation LLC
  Dennis Buss         $198,443.21      $ 2,673,703.58       70           Tonkawa,
                                                                         Oklahoma
   Edwin Buss         $324,102.48            n/a            71           Shawnee,
                                                                         Oklahoma
 Bettye and Billy      $40,772.67       $354,637.15         72          Brownsville,
      Butler                                                             Tennessee
   Caleb Little            n/a          $1,195,131.91       73            Dexter,
                                                                         Kentucky
  Dannie Winfrey           n/a          $5,828,627.43       74           Mayfield,
                                                                         Kentucky
   Diamond B               n/a          $964,294.23         75           Healdton,
   Productions                                                           Oklahoma
       LLC
  Eric Dejarnatt      $133,675.81            n/a            76         Cunningham,
                                                                         Kentucky
  Edwin Stewart            n/a         $15,950,523.37       77          Fort Worth,
                                                                           Texas
   Ernest Gard             n/a          $1,606,891.43       78         Clovis, New
                                                                          Mexico
    Gale Force             n/a          $595,679.85         79        Conway, South
  Quarter Horses                                                         Carolina
  Garwood Cattle           n/a          $6,457,584.13       80         Columbiana,
    Company                                                                Ohio
 J&S Investments           n/a         $ 3,357,451.56       81        Unknown at this
                                                                           time
   Jim Rininger        $160,528.37      $3,629,093.33       82        Canyon, Texas
   Jimmy Greer        $3,015,345.74    $10,910,912.99       83           Murray,
 and Peggy Greer                                                         Kentucky
    Joe Burnett            n/a          $249,802.55         84        Unknown at this
                                                                           time
  Dustin Johnson           n/a          $1,830,225.94       85           McCool,
                                                                        Mississippi
   Keith Harris       $761,612.72       $9,396,235.21       86            Benton,
      Farms                                                              Kentucky
      MAP            $133,117,410.22   $232,187,553.03      87           Mayfiled,
   Enterprises                                                           Kentucky
  Michael Cooper           n/a           $54,183.04         88        Unknown at this
                                                                           time
   Patrick Baker           n/a          $554,870.19         89          Henderson,
                                                                         Kentucky
    Ralph and         $378,543.67       $7,390,885.14       90         Owensboro,
  Veronica Reisz                                                         Kentucky



                                                                                 Page 15
Case 23-20084-rlj7     Doc 330     Filed 03/02/25 Entered 03/02/25 18:27:14              Desc Main
                                  Document     Page 16 of 47



  Robert Stewart            n/a           $1,389,688.19              91           Unknown at this
                                                                                       time
   Roger Welch              n/a           $1,617,463.58              92               Fairfax,
                                                                                     Kentucky
   Rose Valley              n/a            $920,502.61               93            Weatherford,
      Ranch                                                                            Texas
  Sawmill Creek             n/a           $2,681,548.74              94            Snyder, Texas
       LLC
   Scott Stewart        $79,516.53        $1,035,728.46              95             Memphis,
                                                                                    Tennessee
  Scott Livestock     $2,910,642.06       $6,103,501.73              96             West Point,
                                                                                    Mississippi
  Stanley Keith             n/a           $2,202,859.09              97           Kevil, Kentucky
     Myers
 Tommy Manion               n/a           $1,483,727.56              98           Unknown at this
   Ranch, Inc.                                                                         time
  Brent Burnett        $353,267.61              n/a                  99               Melber,
                                                                                     Kentucky
   Codie Perry         $163,249.24              n/a                 100               Braman,
                                                                                    Oklahoma
  Mykel Tidwell       $5,039,238.49             n/a                 101              Mayfield,
                                                                                     Kentucky
   Rick Rodgers        $142,615.69              n/a                 102              Mayfield,
                                                                                     Kentucky
  Stanley Ayers        $305,989.09              n/a                 103           Rockford, Ohio
   Thorlakson         $7,269,755.32             n/a                 104            Friona, Texas
   Diamond T
     Feeders
   Wiley Roby         $1,694,843.58             n/a                 105             Brownsville,
    Russell Jr.                                                                      Tennessee
 WJ Performance        $794,432.65         $794,432.65              106              Cleveland,
     Horses                                                                            Texas

       17.     In addition to the foregoing transfers detailed in the attached exhibits, the Trustee

currently has insufficient information to match the payments detailed on the attached Exhibits

107 and 108 hereto to any particular party. The Trustee reserves the right to amend to further

allocate these payments to any of the investors or vendors.

                                      VENDOR PARTIES

       18.     The following are the vendor parties to this adversary proceeding, the total

payments they received during the 90-day period subject to avoidance, the goods or services

                                                                                              Page 16
Case 23-20084-rlj7      Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14              Desc Main
                                  Document     Page 17 of 47



provided, the corresponding exhibit with the payment detail, and where the parties are believed to

reside:

      Name              Payments          Goods/Services          Exhibit            Residence
                        Received            Provided
                     1/28/23 -4/28/23
  Heartland Coop       $497,848.72         Commodities              109            Bovina, Texas
  Land O Lakes         $127,530.05         Commodities              110             Arden Hills,
    Ag Service                                                                       Minnesota
  Reinert Hay Co       $157,853.00         Commodities              111           Hereford, Texas

  Vet Industries       $234,702.26         Commodities              112            Friona, Texas
  Feed & Supply
  White Energy         $292,965.76         Commodities              113           Hereford, Texas

                                 FAMILY MEMBER PARTIES

          19.   With respect to the individuals named in the Family Member Transactions below,

Crystal McClain, Chelsea McClain, Piper McClain, and Kristin McClain are all individuals

residing in or around Benton, Kentucky.

                          HISTORY OF THE MCCLAIN DEBTORS

          20.   Brian McClain was well-known throughout the cattle and rodeo industries and

primarily based out of Benton, Kentucky. He formed, owned, and operated each of the Debtors—

which he used for various functions in the cattle industry.

          21.   The Debtors’ primary “legitimate” business was to acquire and aggregate cattle

from many different sources throughout Kentucky, the Southeast United States, Texas, and

Oklahoma to fulfill large purchase orders for the Debtors’ two primary buyers which were located

in Texas – Cactus Feeders and Riley/Friona. With respect to Riley/Friona, during certain periods

the Debtors operated as essentially a subcontractor for Riley Livestock, Inc. in acquiring cattle for

its fulfillment of large purchase orders for Friona Industries, Inc., and at other times the Debtors




                                                                                              Page 17
Case 23-20084-rlj7        Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14            Desc Main
                                    Document     Page 18 of 47



acquired cattle independently from various small sources to fulfill large purchase orders to Riley

Livestock, Inc.

       22.        To fulfill these large purchase orders to its two Texas customers, the Debtors

acquired livestock from a wide variety of sources. With respect to the livestock acquired around

Kentucky and the Southeast, including Florida, the Debtors would transport the cattle to its

locations in Kentucky for “straightening out” whereby the cattle would be evaluated for health,

size, and other issues, then sorted and kept (where they would be grown and their medical issues

would be addressed) until they were transported to the Debtors’ Texas facilities or to the Debtors’

Texas buyers. Similarly, with respect to the livestock acquired around Texas and Oklahoma, the

Debtors would take possession of the cattle through transporting to and between the Debtors’

Texas locations, straighten those cattle out, and then deliver them to the Debtors’ two Texas

buyers. Generally in each instance, the Debtors would obtain, transport, hold, and eventually

deliver cattle to their buyers within 1-3 months of the Debtors’ original acquisition.

       23.        In addition to the above model, the Debtors also provided feedyard services in a

much smaller capacity where in some instances, the Debtors would take possession of third-

parties’ cattle to feed and grow those cattle.

       24.        In connection with these cattle activities, the Debtors had, at any given time, a

meaningful amount of cattle on hand. It was with these cattle that McClain and the Debtors

attracted investors and ran a much larger Ponzi scheme.

                          OTHER PLAYERS IN THE PONZI SCHEME

       25.        Rabo AgriFinance LLC (“Rabo”) - in 2017 this lender gave McClain the

opportunity to expand his cattle feeding operations from Kentucky into the Texas Panhandle by

refinancing a prior secured lending facility. Rabo simultaneously extended massive amounts of



                                                                                            Page 18
Case 23-20084-rlj7        Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14            Desc Main
                                    Document     Page 19 of 47



new credit to Debtors through purchase money loans used to acquire new feedyards and funds

available on a line of credit. That line of credit was purportedly secured by a so-called lien on all

of the “Debtors’ cattle.” Rabo extended a $12 million line of credit in May 2019, then increased it

to $16 million in 2019, and to $23 million in January 2020. Rabo made another $2 million in

operating capital available to Debtors in March 2021, bringing Debtors’ lines of credit with Rabo

to $25 million.

       26.        Community Financial Services Bank (“CFSB”) and Mechanics Bank – these

banks handled the Debtors’ deposit accounts and allowed the Debtors to perpetuate a massive

check-kiting scheme. In that check kiting scheme, the Debtors’ Bank would float funds between

themselves by floating payments between their accounts at different banks, as well at the same

bank using intercompany accounts, to cover NSF payments out to investors.

       27.        Carr, Riggs & Ingram, L.L.C./CRI Advisors, LLC - an outside CPA/Advisory

Firm that provided accounting services to the Debtors and allowed them to, among other things,

misrepresent their financial condition.

       28.        Angela Powell and H&R Block – served as “bookkeeper” to the Debtors and

facilitated the flow of inaccurate accounting information.

       29.        HTLF Bank, as Successor to First Bank & Trust (“HTLF”) – the bank of a

major investor. HTLF was in possession of pre-signed but otherwise blank checks for the Debtors.

HTLF’s officers facilitated the faster flow of investor funds by filling out and depositing the

Debtors’ checks directly.

                                      THE PONZI SCHEME

       30.        Starting by at least 2018, the Debtors procured passive investments from hundreds

of parties pursuant to “partnership agreements” where the investor intended to invest money with



                                                                                              Page 19
Case 23-20084-rlj7      Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14               Desc Main
                                  Document     Page 20 of 47



the Debtors in return for a purported split of profits from the Debtors’ grown cattle. The investors

were not banks, hedge funds, private equity firms, or large companies. Rather, they were private

individuals and entities that for one reason or another came to know Brian McClain and decided

to invest money with the Debtors to profit in the cattle industry.

       31.     Those investors did not: (i) actually take possession of cattle; (ii) visually confirm

the actual existence of “their” cattle; (iii) require or confirm that they were segregated and not the

subject of other investor deals; (iv) obtain unique identifiers on “their” cattle that would enable a

party to confirm any of the foregoing; or (v) actively participate in the management, growth, and

sale of cattle. Instead, the investors’ participation in these “cattle” was limited to sending the

Debtors money and waiting for a return on their invested funds.

       32.     In many cases, the investor arrangements were based upon a written “partnership”

agreement that varied somewhat in form, but generally contained terms like the following

example:




                                                                                               Page 20
Case 23-20084-rlj7    Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14            Desc Main
                                Document     Page 21 of 47




       33.    In other instances, the investor did not have a written “partnership agreement” and

instead invested on mere verbal terms similar to the above written agreement. Those investors

sent the Debtors money for cattle already purportedly owned by, and in the possession of, the

Debtors under an arrangement that the Debtors would retain the cattle, grow them, and split the


                                                                                          Page 21
Case 23-20084-rlj7        Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14              Desc Main
                                    Document     Page 22 of 47



profit with the investor. In many cases, the Debtors suggested to the investor that they had a futures

contract for the sale of cattle at a certain price per pound, when in reality, the Debtors did not

actually have such guaranteed future price.

       34.        In addition to promised profits, the Debtors attracted investors through McClain’s

participation in the rodeo circuit by providing a “side-benefit” to certain investors by providing

“their” cattle to rodeo events where the cattle would be used for roping and similar activities and

the Debtors would handle transportation to and from the events. In reality, there was no record or

other way to suggest that the cattle being used for a rodeo was one particular investor’s cattle or

another. But this ability to use cattle provided by the Debtors at rodeo was an attractive benefit to

certain investors in investing in the Debtors’ cattle operation.

       35.        Some parties may claim for legal positing that the investors did not “invest” but

instead “purchased” cattle under these arrangements. The substance of the relationship, however,

dictates otherwise. A financial arrangement constitutes an “investment contract” if the contract

comprises: (1) the investment of money (2) in a common enterprise (3) with an expectation of

profits to be derived solely from the efforts of the promoter or a third party. SEC v. W.J. Howey

Co., 328 U.S. 293, 66 S.Ct. 1100, 90 L.Ed. 1244 (1946). Here, the parties clearly invested money

with the Debtors in a common enterprise that expected profits to be derived solely from the efforts

of the Debtors.

       36.        Moreover, under applicable law, the investors did not obtain sufficient information

of their specific cattle or take possession of cattle in order to even arguably establish a transfer of

title and ownership. See, e.g., UCC §§ 2-501, 2-401, 2-601, 2-105, 2-305, 2-308 (all applicable in

both Kentucky and Texas), and Texas Ag. Code 146.001.




                                                                                                Page 22
Case 23-20084-rlj7      Doc 330     Filed 03/02/25 Entered 03/02/25 18:27:14             Desc Main
                                   Document     Page 23 of 47



       37.     In several instances, “investors” even had possession of blank checks from the

Debtors that the investors filled in on their own to more quickly facilitate the flow of funds.

       38.     In each case, the investor expected an annualized profit of approximately 30% on

each transaction based upon specific stated growth rates and future sale weight and price per

pound. The Debtors consistently provided each investor with a return on their investments.

       39.     In many cases the investors would receive a full return on their investment. In other

cases, investors “pressed” their money with the Debtors by allowing the Debtors to retain some or

all of either the principal or profit component of their transaction for future deals.

       40.     But the investors’ purported “profits” were fictitious. In addition to the unrealistic

returns, the volume of cattle that the Debtors should have acquired with the investor money far

exceeded: (i) the volume of cattle that the Debtors were capable of handling; (ii) the actual head

of cattle that the Debtors were selling to third parties (even assuming that all cattle on hand with

the Debtors were acquired with investor funds rather than the Rabo Loan); and (iii) the number of

head of cattle ever verified on hand by an independent third party at any time. Accordingly,

investors were not repaid with actual profit from actual cattle because that unique cattle backing

up every agreement did not actually exist.

       41.     Further, based upon the Debtors’ bank statements and the sources of funds, it is

apparent that when the Debtors repaid investors, they used other investor funds. Accordingly, the

investors’ profits were fictitious and reliant upon a stream of new investor funds.

       42.     The size of the Ponzi scheme related to the Debtors’ actual cattle operations was

staggering: the volume of funds in and out of the Debtors’ bank accounts for investors exceeded

the volume of funds of cattle actually acquired and sold by the Debtors by a 10x multiple.




                                                                                              Page 23
Case 23-20084-rlj7         Doc 330      Filed 03/02/25 Entered 03/02/25 18:27:14                       Desc Main
                                       Document     Page 24 of 47



        43.      Moreover, the Debtors resorted to check kiting between 2 different financial

institutions to keep the scheme afloat and to cover investor checks when funds on hand were

insufficient to cover the investment returns. As further irregular business practices, the Debtors

generally accepted all investor money into 1 of the 3 Debtor bank accounts, paid out all investor

money out of a different Debtor bank account, and the Debtors’ bank statements are mired with

intercompany transfers.7

        44.      The expected “turn” for the acquisition and sale of cattle in the purported business

operations of the Debtors was 60-90 days. In the months leading up to the downfall of the Debtors’

scheme, the “turns” between investment and repayment to many investors sped up to a completely

unrealistic matter of weeks, and in some instances, days.

        45.      The demise of the Debtors’ Ponzi scheme occurred when: (i) Rabo performed

onsite inspections and confirmed that the reported head of cattle on hand grossly exceeded actual

cattle on hand; (ii) Rabo then insisted that the Debtors hire an independent CRO, and (iii) Brian

McClain committed suicide on April 18, 2023, within days of the CRO beginning his financial

investigation.

                              THE WILDFOREST/MAP CLAW BACKS

        46.      In the days leading up to Mr. McClain’s death, several parties took improper self-

help action. First, Wildforest Cattle and MAP Enterprises worked with CFSB to improperly

reverse prior deposits into the Debtors’ bank accounts. Exhibit 114 details deposits that were made

into the McClain Feed Yard bank account #0197 at Mechanics Bank by MAP Enterprises and

Wildforest Cattle. The deposits (all made by check – 47 by MAP / 28 by Wildforest) were made


7
 The Debtors’ funds were so commingled that the Trustee is taking the position in this lawsuit that the funds should
be treated as one single unit for purposes of avoidance claims. The Trustee reserves the right to amend to further
delineate claims against parties based upon payments received or value given with respect to any one particular
Debtor.

                                                                                                             Page 24
Case 23-20084-rlj7      Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14             Desc Main
                                  Document     Page 25 of 47



by “Remote Deposit” on April 3-5, 2023 (Monday through Wednesday). All the checks that were

written by MAP & Wildforest were on their individual accounts at CFSB.

       47.     Late in the day on Wednesday April 5, 2023, Rabo froze the Debtors’ bank accounts

and informed Brian McClain on Thursday afternoon April 6 that his Mechanics Bank accounts

had been frozen.

       48.     It is believed that Brian McClain informed the principals of both MAP and

Wildforest of the freezing of the Mechanics Bank accounts, which led to both MAP and Wildforest

clawing back the deposits they made on April 3, 4 & 5. Exhibit 114 shows that MAP clawed back

approximately $20.4 million in deposits and Wildforest clawed back approximately $10.6 million

in deposits, for a total of approximately $31 million.

       49.     The MAP & Wildforest clawbacks put the 3 accounts (combined) in a negative

position of approximately $31 million.

                          CATTLE RECLAMATION/CONVERSION

       50.     In the days immediately following Brian McClain’s death, the following investors

are believed to have taken possession of certain cattle of the Debtors’ and/or otherwise had

possession of the Debtors’ cattle and have attempted to retain the cattle and/or their proceeds:

             Party                             Head                    Approximate Value
 Bo Robinson                      1055                             $1,055,000.00
 Dwight Jesko                     185                              $185,000.00
 Colton Long                      290                              $290,000.00
 Steve Scott                      23                               $23,000.00
 Cory Priest                      540                              $540,000.00
 Scott Skinner                    349                              $349,000.00
 Ed Dufurrena                     301                              $301,000.00
 Keeling Cattle Feeders           49                               $49,000.00
 Thomas Thorlackson               228                              $228,000.00
 Doug Pritchett                   627                              $627,000.00
 Phillip Rapp                     75                               $75,000.00
 Colette Lesh                     75                               $75,000.00
 Tom Frith                        150                              $150,000.00

                                                                                             Page 25
Case 23-20084-rlj7      Doc 330     Filed 03/02/25 Entered 03/02/25 18:27:14           Desc Main
                                   Document     Page 26 of 47



                                       THE USDA CLAIMS

       51.     The magnitude of the Ponzi scheme is further illustrated by the parties that

remained unpaid at the conclusion of the case. Pursuant to the records provided by the United

States Department of Agriculture (“USDA”), over 100 claimants filed claims with the USDA

under the Dealer Trust Statute (7 U.S.C. § 217(b)) for allegedly unpaid amounts for cattle sales to

the Debtors in the total amount of $122,295,867.46.

       52.     Of that total amount, only $2,930,940.33 were considered by the USDA to be

“qualified” USDA claims resulting from unpaid sales of cattle to the Debtors. The remaining

$119,364,927.13 of claims all appear to be investor claims described above. Accordingly, when

the Debtors’ operations froze, the parties allegedly stiffed on actual cattle purchases comprised a

miniscule percentage of the alleged claims of the passive investors.

                                   CHECK KITING SCHEME

       53.     In addition to the fact that the Debtors’ cash activity constituted a Ponzi scheme

because the Debtors were repaying investors with fictitious profits, the Debtors’ cash activity was

also a massive check kiting scheme. Check kiting is described as the process of recording the

deposit of an interbank transfer before recording the disbursement, thus briefly double-counting

the amount of cash. In a kiting scheme, multiple bank accounts are opened, often at different bank

institutions. Money is transferred between accounts by the writing of a check out of one account

for deposit into another. The period between when credit is given to an account holder by the

depositing bank versus when a payment clears from the disbursing bank is referred to as the “float”

period. This float period allows the perpetrator to utilize credit for money which did not exist at

the time. In essence, it’s the creation of fictitious value of funds.

       54.     The Debtors were in an overdraft or overdrawn position with its banks for years.

For example, in late 2019 the Debtors were in an overdraft position by $8,121,103. In other words,

                                                                                            Page 26
Case 23-20084-rlj7         Doc 330       Filed 03/02/25 Entered 03/02/25 18:27:14            Desc Main
                                        Document     Page 27 of 47



the Debtors’ actual bank balance was negative by this $8,121,103 (not including checks that it had

written which had not yet cleared). Such a position created significant exposure for its banks and

pressure for the Debtors to raise funds or otherwise correct the overdraft/overdrawn position.

       55.      The Debtors’ accounts were in an overdraft position a staggering number of days

on an annual basis as summarized below:


                                               Number of Days in Overdraft Position

                                        2018   2019      2020      2021      2022     2023

        CFSB                             43      13        6        32        18       1

        Mechanics Bank - all accounts    62      54        51       193       87      44

       56.      As seen above, in 2021 the Debtors’ accounts with Mechanics Bank were

overdrawn 193 days and were overdrawn by milloins of dollars. Normal business accounts are

not managed in this fashion.

       57.      To remedy the overdrafts, the Debtors resorted to, among other tactics, frequently

utilizing a check-kiting scheme. For example, on one example day (July 2, 2020), the Debtors had

insufficient funds to cover outstanding checks they had written on their CFSB account. That day,

the Debtors wrote $1,295,748.32 in checks from Mechanics Bank account #0197 and deposited

them into the Debtors’ CFSB account despite not having anywhere close to $1,295,748.32 in

deposits with Mechanics Bank. CFSB credited the Debtors’ bank account $1,295,748.32 and paid

the outstanding checks, which left a positive balance with CFSB that day of only $49,159.78.

When the checks finally cleared the Mechanics Bank account the next day (July 3, 2020), along

with various other deposits and credits mainly with investor funds, the Mechanics Bank account

was overdrawn $776,653. All of this was to create a temporary float for July 2 to allow mostly

investor checks to clear on July 2.


                                                                                                Page 27
Case 23-20084-rlj7              Doc 330           Filed 03/02/25 Entered 03/02/25 18:27:14                                Desc Main
                                                 Document     Page 28 of 47



          58.       Another similar example is on August 21, 2020. On this day, the Debtors made

intercompany deposits from their Mechanics Bank accounts to its CFSB account of $2,800,560.54

to cover what would have otherwise been an approximate $2.78 million shortfall (overdraft) in the

CFSB account that day. Like the prior example, the $2,800,560.54 written out of Mechanics Bank

account did not clear the Mechanics Bank account until the following Monday, August 24, 2020.

In order for the Mechanics Bank account to have sufficient funds to cover the August 21, 2020

$2,800,560.54 deposit made into the Debtors’ CFSB account, approximately $2.9 million of

investor funds were deposited on August 24, 2020 as follows:

Date      GROUP CATEGORY                          Bank Description                                      Credit Amount (Deposit)
8/24/2020 WILLIAM A WEDDINGTON                    WIRE TRANSFER 1/WILLIAM A WEDDINGTO 02100002141FT03   $             269,335.25
8/24/2020 SUSAN H FOSTER                          WIRE TRANSFER 1/SUSAN H FOSTER 02100002141FT03        $             174,639.92
8/24/2020 LESH GROUP - LAZY J                     REMOTE DEPOSIT                                        $             720,426.13
8/24/2020 JONES GROUP - DON JONES FARM            REMOTE DEPOSIT                                        $              67,764.06
8/24/2020 JONES GROUP - DON JONES FARM            DEPOSIT                                               $             150,000.00
8/24/2020 JONES GROUP - CURTIS JONES FARMS        REMOTE DEPOSIT                                        $              81,359.98
8/24/2020 JONES GROUP - CURT & KINSEY             REMOTE DEPOSIT                                        $              34,218.16
8/24/2020 JIMMIE T RININGER SHERRY D RININGER     REMOTE DEPOSIT                                        $             149,943.96
8/24/2020 BRAUN GROUP - ROBERT BRAUN              REMOTE DEPOSIT                                        $             151,440.98
8/24/2020 BRAUN GROUP - ROBERT BRAUN              REMOTE DEPOSIT                                        $             151,440.98
8/24/2020 BRAUN GROUP - ARNOLD & MARTHA           REMOTE DEPOSIT                                        $             152,243.25
8/24/2020 BRAUN GROUP - ARNOLD & MARTHA           REMOTE DEPOSIT                                        $             281,604.23
8/24/2020 2B FARMS GROUP - TERRY / BO ROBINSON    WIRE TRANSFER 2B FARMS      11132106302FT03           $             514,296.47

                                                                                                        $           2,898,713.37


          59.       The Debtors consistently utilized massive extensive intercompany transfer activity

between their accounts to create artificial account value, specifically over 5,000 transactions in the

hundreds of millions of dollars on an annual basis, as summarized below:




                                                                                                                                   Page 28
Case 23-20084-rlj7              Doc 330      Filed 03/02/25 Entered 03/02/25 18:27:14       Desc Main
                                            Document     Page 29 of 47



Intercompany Activity at Community Financial Services Bank – Receipts and
Withdrawals:


                                            Community Financial Services Bank
                                               Receipts vs. Withdrawals
             $400.00




             $300.00




             $200.00




             $100.00
  Millions




                  $-




             $(100.00)




             $(200.00)




             $(300.00)
                         2018        2019                  2020              2021    2022   2023

                                                  CFSB Receipts   CFSB Withdrawals




                                                                                                   Page 29
Case 23-20084-rlj7              Doc 330      Filed 03/02/25 Entered 03/02/25 18:27:14   Desc Main
                                            Document     Page 30 of 47



Intercompany Activity at Mechanics Bank – Receipts and Withdrawals:



                                                   Mechanics Bank
                                               Receipts vs. Withdrawals
             $800.00




             $600.00




             $400.00




             $200.00
  Millions




                  $-




             $(200.00)




             $(400.00)




             $(600.00)




             $(800.00)
                         2018        2019               2020              2021   2022   2023

                                                 MB Receipts   MB Withdrawals




                                                                                               Page 30
Case 23-20084-rlj7                Doc 330     Filed 03/02/25 Entered 03/02/25 18:27:14         Desc Main
                                             Document     Page 31 of 47



                     60.   Despite the extensive use of check-kiting, the Debtors’ accounts remained over-

drawn and materially so, for example:

                                                    McClain Feed Yard
                                              Mechanics Bank End of Day Balance
                                      End of Day Balances for 2021 through May 15, 2023
            25.0                                      Mechanics Bank End of Day Balance




            20.0




            15.0




            10.0
 MILLIONS




              5.0




              0.0




             (5.0)




            (10.0)




                                                                                                    Page 31
Case 23-20084-rlj7                Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14           Desc Main
                                            Document     Page 32 of 47



                                                  McClain Feed Yard
                                                CFSB End of Day Balance
                                               2021 through May 15, 2023
             4.0                                      CFSB End of Day Balance



             3.0




             2.0




             1.0
 MILLIONS




             0.0




            (1.0)




            (2.0)




            (3.0)




            (4.0)




                    61.   The Debtors’ intercompany transactions totaled in the tens of millions per month

and $2 billion in 5 years, thus illustrating the fraudulent volume required to, among other things,

fund the check kiting scheme and desperately attempt to cover the checks to investors:




                                                                                                     Page 32
Case 23-20084-rlj7   Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14   Desc Main
                               Document     Page 33 of 47




                                                                              Page 33
Case 23-20084-rlj7     Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14           Desc Main
                                 Document     Page 34 of 47




                        THE FAMILY MEMBER TRANSACTIONS

       62.    Crystal McClain is Brian McClain's ex-wife. Chelsea McClain was the wife of

Brian McClain as of his date of death on April 18, 2023. Piper McClain, Kristin McClain, Meagan

Goad, and Kinsey Moreland are Brian McClain's daughters.

       63.    On September 25, 2020, the Marshall Family Court of the Commonwealth of

Kentucky entered its Findings of Fact, Conclusions of Law, and Decree of Dissolution of Marriage

                                                                                         Page 34
Case 23-20084-rlj7     Doc 330       Filed 03/02/25 Entered 03/02/25 18:27:14           Desc Main
                                    Document     Page 35 of 47



(the “Divorce Decree”) approving the Marital Settlement Agreement between Brian McClain and

Crystal McClain attached. Pursuant to the Divorce Decree and the Marital Settlement Agreement,

Brian McClain was ordered to pay Crystal McClain $1.7 million as a property division in return

for Brian McClain retaining his interests in the Debtors. The Debtors in turn paid Crystal McClain

$1,170,000.00 million presumably in connection with the Divorce Decree:


 Company       Bank                    Acct     Date     Check Payee                (Payment)

 McClain       Mechanics Bank          0197 11/16/20 2871          CRYSTAL
 Feed Yard                                                         MCCLAIN          (70,000.00)
 McClain       Community               3786 01/11/21 26708         CRYSTAL
 Farms         Financial Services                                  MCCLAIN          (250,000.00)
               Bank
 McClain       Community               3786 01/21/21 26709         CRYSTAL
 Farms         Financial Services                                  MCCLAIN          (250,000.00)
               Bank
 McClain       Community               3786 03/24/21 28678         CRYSTAL
 Farms         Financial Services                                  MCCLAIN          (250,000.00)
               Bank
 McClain       Mechanics Bank          3070 07/06/22 2906          CRYSTAL
 Farms                                                             MCCLAIN          (50,000.00)
 McClain       Mechanics Bank          3070 07/12/22 2908          CRYSTAL
 Farms                                                             MCCLAIN          (100,000.00)
 McClain       Mechanics Bank          3070 07/22/22 2907          CRYSTAL
 Farms                                                             MCCLAIN          (100,000.00)

       64.     In addition to these transfers, Brian McClain had eight separate term life insurance

policies with 3 different carriers. He had five policies with Grange/Kansas City Life, two policies

with Cincinnati Life, and one policy with Prudential. The beneficiaries on the first six policies

(five from Grange and one from Cincinnati) were McClain's four daughters (Megan Goad, Kinsey

Moreland, Piper McClain and Kristin McClain), each of whom has received 25% of the life

insurance. The second Cincinnati policy, which was purchased as required by the Divorce Decree

"was a declining annual scale to be paid to his ex-wife, Crystal McClain (in 2021, it was $550,000).

On the last policy (Prudential), beneficiaries were Chelsea McClain at 32%, and each of the four


                                                                                             Page 35
Case 23-20084-rlj7     Doc 330     Filed 03/02/25 Entered 03/02/25 18:27:14            Desc Main
                                  Document     Page 36 of 47



daughters at 17% each. The death benefit on these policies is believed to have been $3 million,

which resulted in Chelsea McClain receiving $960,000 and each of the daughters receiving

$510,000.

       65.     It is believed that the benefit under the two policies with Cincinnati Life totaled

$4,700,000.00, and the death benefit under the five Grange policies was $7,350,000. The

beneficiaries under the Grange policies were as follows (all list the daughters as beneficiaries at

25% each): $3,000,000; $2,000,000; $1,500,000; $750,000; and $100,000.

       66.     In total, the following amounts were paid out in 2023 on the life of Brian McClain,

with the premiums for those policies being paid for by the Debtors: $550,000.00 to Crystal

McClain; $960,000 to Chelsea McClain; and $2,347,500.00 to each of Megan Goad, Kinsey

Moreland, Piper McClain and Kristin McClain ($510,000 each on the first Cincinnati Life policy

and $1,837,500 each on the five Grange policies).

       67.     The premiums from the term life insurance policies for the effective periods for

coverage through Mr. McClain’s date of death were paid by funds from the Debtors:


Checks from McClain Farms, Inc. - Mechanics Bank Acct #3070

1353   11/16/21        7,062.00       Cincinnati Life Insurance Co
1151   10/20/21        2,615.00       Grange
1351   11/16/21        5,835.00       Grange
2134   03/08/22        8,925.00       Cincinnati Life Insurance Co
2260   03/29/22        6,865.00       Prudential Insurance
2374   04/18/22        945.00         Grange
3535   10/04/22        1,785.00       Grange
3623   10/17/22        2,615.00       Grange
4125   12/12/22        7,062.00       Cincinnati Life Insurance Co
4124   12/13/22        5,835.00       Grange
7175   03/14/23        6,865.00       Prudential Insurance
7179   03/17/23        8,925.00       Cincinnati Life Insurance Co




                                                                                            Page 36
Case 23-20084-rlj7     Doc 330     Filed 03/02/25 Entered 03/02/25 18:27:14           Desc Main
                                  Document     Page 37 of 47



Checks from McClain Farms, Inc. - Community Financial Services Bank Acct #3786

21245 06/12/18         945.00        Grange
21734 09/28/18         4,400.00      Grange
22153 12/03/18         5,835.00      Grange
22953 03/27/19         8,925.00      Cincinnati Life Insurance Co
23157 04/23/19         945.00        Grange
24362 09/30/19         2,615.00      Grange
24365 09/30/19         1,785.00      Grange
24675 11/06/19         5,835.00      Grange
25911 03/19/20         8,925.00      Cincinnati Life Insurance Co
26156 04/23/20         945.00        Grange
27464 10/14/20         2,615.00      Grange
27467 10/14/20         1,785.00      Grange
27730 11/12/20         5,835.00      Grange
27927 12/11/20         7,062.00      Cincinnati Life Insurance Co
Elec 03/30/21          6,865.00      INS PAYMNT PRUDENTIAL
28689 03/30/21         8,925.00      Cincinnati Insurance Co
28825 04/20/21         945.00        Grange
29981 09/28/21         1,785.00      Grange

       68.    Moreover, to the extent any premiums were ever paid by Brian McClain, the

banking records for both the Debtors and Mr. McClain are clear that his only source of personal

funds for Mr. McClain was transfers from the Debtors. Given the massive Ponzi scheme at issue

in this case, McClain’s funds should be considered the property of the Debtors.

                     COUNT 1: FRAUDULENT TRANSFER CLAIMS –
                         FAMILY MEMBER TRANSACTIONS


       69.    The $1,170,000.00 received by Crystal McClain from the Debtors in connection

with the Divorce Decree was on account of an obligation not owed by the Debtors. The following

parties receiving the following proceeds of term life insurance paid for by funds of the Debtors:

Crystal McClain - $550,000.00; Chelsea McClain - $960,000.00; Piper McClain - $2,347,500.00;

and Kristin McClain - $2,347,500.00.

       70.    The Debtors obviously received less than reasonably equivalent value for the

Divorce Decree payment and the life insurance proceeds given that there was no reciprocal


                                                                                          Page 37
Case 23-20084-rlj7      Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14            Desc Main
                                  Document     Page 38 of 47



consideration to the Debtors. Further, those funds were paid out during the operation of the

Debtors’ massive Ponzi scheme. Accordingly, all such transfers were made with actual intent to

hinder, delay, or defraud parties which the Debtors were or became liable after the transfers. The

Debtors were decidedly insolvent given the amount of the asserted Rabo debt, other claims of

investors, and other debts, against the asset value of the Debtors. The Debtors were further

engaging in transactions at each juncture for which they had unreasonably small capital to satisfy

(and were instead reliant upon further investor advances) and for which the Debtors knew they

could not satisfy when matured without additional investor funds.

       71.     Accordingly, all the Debtors’ transfers pursuant to the Divorce Decree and for the

term life insurance violated 11 U.S.C. §548(a)(1)(A) and (a)(1)(B); Sections 24.005 and .0006 of

the Texas Fraudulent Transfer Act; and Sections 378A.040 and .050 of the Kentucky Uniform

Voidable Transactions Act.

       72.     Accordingly, pursuant to 11 U.S.C. §§544, 548(a)(l)(A), 548(a)(l)(B), 550, and

551, Texas Business and Commerce Code §§ 24.005 and 24.006, and/or Kentucky Uniform

Voidable Transactions Act §§ 378A.040 and .050 the Trustee is entitled to judgments:(a) avoiding

and preserving the transfers; (b) directing that the transfers be set aside; and (c) recovering the

transfers, or the value thereof, from the parties as follows:

               a.      Crystal McClain in the amount of $1,720,000.00;

               b.      Chelsea McClain in the amount of $960,000.00;

               c.      Piper McClain in the amount of $2,347,500.00; and

               d.      Kristin McClain in the amount of $2,347,500.00.

       73.     The Trustee is further entitled to a judgment awarding his attorney’s fees. Tex.

Bus. & Com. Code Ann. § 24.013.



                                                                                            Page 38
Case 23-20084-rlj7      Doc 330     Filed 03/02/25 Entered 03/02/25 18:27:14              Desc Main
                                   Document     Page 39 of 47



     COUNT 2: ALTERNATIVE CLAIMS – FAMILY MEMBER TRANSACTIONS

       74.     In the alternative, given the circumstances of this case it would be inequitable to

allow the parties to retain the subject funds:

       e.      Crystal McClain in the amount of $1,720,000.00;

       f.      Chelsea McClain in the amount of $960,000.00;

       g.      Piper McClain in the amount of $2,347,500.00; and

       h.      Kristin McClain in the amount of $2,347,500.00.

       75.     In the alternative, the Trustee is entitled to a judgment against the foregoing parties

in the foregoing amounts under principles of constructive trust, unjust enrichment, and/or money

had and received.

                     COUNT 3: PREFERENCE CLAIMS - INVESTORS

       76.     Each of the Investor Parties above with corresponding figures in the field

“Payments Received 1/28/23 - 4/28/23” (“Investor Preference Defendants”) received the total

payments during the preference period on account of preexisting written or verbal cattle investment

agreements with the Debtors, as further detailed on the attached exhibits, which the Trustee

reasonably believes have net preferences owing after consideration of their affirmative defenses.

       77.     In addition, certain Investor Preference Defendants have taken and/or retained

cattle as described above.

       78.     Pursuant to 11 U.S.C. § 547(b): [e]xcept as provided in subsections (c) and (i) of

this section, the trustee may, based on reasonable due diligence in the circumstances of the case

and taking into account a party’s known or reasonably knowable affirmative defenses under

subsection (c), avoid any transfer of an interest of the debtor in property—

       (1) to or for the benefit of a creditor;



                                                                                               Page 39
Case 23-20084-rlj7      Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14              Desc Main
                                  Document     Page 40 of 47



       (2) for or on account of an antecedent debt owed by the debtor before such transfer was
       made;
       (3) made while the debtor was insolvent;
       (4) made—
               (A) on or within 90 days before the date of the filing of the petition; or
               (B) between ninety days and one year before the date of the filing of the petition, if
               such creditor at the time of such transfer was an insider; and
       (5) that enables such creditor to receive more than such creditor would receive if—
               (A) the case were a case under chapter 7 of this title;
               (B) the transfer had not been made; and
               (C) such creditor received payment of such debt to the extent provided by the
               provisions of this title.

       79.     Each payment to the Investor Preference Defendants was a transfer of an interest

belonging to the Debtors for the benefit of the Investor Preference Defendant on account of an

antecedent debt owed by the Debtors before the transfer was made. Likewise, the

reclaimed/retained cattle constitute a transfer of an interest in property of the Debtors on account

of a prior debt. The antecedent debt was the prior investment made by the Investor Preference

Defendant. At the time of the transfers, the Debtors were decidedly insolvent given the amount of

the asserted Rabo debt, other claims of investors, and other debts, against the asset value of the

Debtors. The transfers were made within 90 days of the Petition Date.

       80.     This case will not be a 100% case. The Trustee is currently only holding less than

$10M of assets against over $150M of asserted debt, other than litigation claims. The majority of

the litigation claims consist of avoidance actions that expose the defendant to a resulting claim

under section 502(h) of the Bankruptcy Code.

       81.     The Trustee is entitled to avoid the payments and reclaimed/retained cattle pursuant

to 11 U.S.C. §§ 547 and 550, and to preserve the value of the payments and the reclaimed/retained

cattle for the benefit of the bankruptcy estate pursuant to 11 U.S.C. § 551.




                                                                                              Page 40
Case 23-20084-rlj7       Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14             Desc Main
                                   Document     Page 41 of 47



                       COUNT 4: PREFERENCE CLAIMS - VENDORS

       82.       Each of the following Vendor Parties are defendants to this lawsuit that have

received the payments during the preference period, as further detailed on the attached exhibits.

       83.       Pursuant to 11 U.S.C. § 547(b): [e]xcept as provided in subsections (c) and (i) of

this section, the trustee may, based on reasonable due diligence in the circumstances of the case

and taking into account a party’s known or reasonably knowable affirmative defenses under

subsection (c), avoid any transfer of an interest of the debtor in property—

       (1) to or for the benefit of a creditor;
       (2) for or on account of an antecedent debt owed by the debtor before such transfer was
       made;
       (3) made while the debtor was insolvent;
       (4) made—
               (A) on or within 90 days before the date of the filing of the petition; or
               (B) between ninety days and one year before the date of the filing of the petition, if
               such creditor at the time of such transfer was an insider; and
       (5) that enables such creditor to receive more than such creditor would receive if—
               (A) the case were a case under chapter 7 of this title;
               (B) the transfer had not been made; and
               (C) such creditor received payment of such debt to the extent provided by the
               provisions of this title.

       84.       Each payment to the Vendor Parties was a transfer of an interest belonging to the

Debtors for the benefit of the Vendor Parties on account of an antecedent debt owed by the Debtors

before the transfer was made. The antecedent debt was the prior goods or services, as noted,

provided to the Debtors by the Vendor Parties. At the time of the transfer, the Debtors were

decidedly insolvent given the amount of the asserted Rabo debt, other claims of investors, and

other debts, against the asset value of the Debtors. The transfers were made within 90 days of the

Petition Date.




                                                                                              Page 41
Case 23-20084-rlj7      Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14              Desc Main
                                  Document     Page 42 of 47



         85.    This case will not be a 100% case. The Trustee is only holding $10M of assets

against over $150M of asserted debt, other than litigation claims. The majority of the litigation

claims consist of avoidance actions that expose the defendant to a resulting claim under section

502(h) of the Bankruptcy Code.

         86.    The Trustee is entitled to avoid these payments to the Vendor Parties pursuant to

11 U.S.C. §§ 547 and 550, and to preserve the value of the payments for the benefit of the

bankruptcy estates pursuant to 11 U.S.C. § 551.

               COUNT 5: FRAUDULENT TRANSFER CLAIMS - INVESTORS

         87.    As discussed above, the transfers to the Investor Parties were fictitious returns on

fraudulent cattle investments. Accordingly, all transfers were made with actual intent to hinder,

delay, or defraud parties which the Debtors were or became liable after the transfers. Further, with

respect to fictitious profits, the Debtors received less than a reasonably equivalent value in

exchange for such transfers. The Debtors were decidedly insolvent given the amount of the

asserted Rabo debt, other claims of investors, and other debts, against the asset value of the

Debtors. The Debtors were further engaging in transactions at each juncture for which they had

unreasonably small capital to satisfy (and were instead reliant upon further investor advances) and

for which the Debtors knew they could not satisfy when matured, without additional investor

funds.

         88.    Accordingly, all of the Debtors’s transfers to Investor Parties for any amounts in

the “Total Payments Received” field of the above table, as well as detailed in the attached exhibits,

violated 11 U.S.C. §548(a)(1)(A) and (a)(1)(B); Sections 24.005 and .0006 of the Texas Fraudulent

Transfer Act; and Sections 378A.040 and .050 of the Kentucky Uniform Voidable Transactions

Act.



                                                                                              Page 42
Case 23-20084-rlj7       Doc 330     Filed 03/02/25 Entered 03/02/25 18:27:14                 Desc Main
                                    Document     Page 43 of 47



        89.     As discussed above, all transfers out of a Ponzi scheme are prima facie avoidable

and it is not the Trustee’s burden to plead and prove the defendants’ affirmative defenses of value

and good faith. The Trustee has nevertheless performed a significant inquiry into potential

affirmative defenses. The Trustee believes that the Investor Parties named as fraudulent transfer

defendants received returns that exceeded their investments on a net basis, and/or cannot arguably

establish good faith as a result of their participation in the Debtors’ Ponzi scheme, including

because they held pre-signed checks of the Debtors, held and processed checks for other investors,

and/or received investment returns so far outside the range of reasonableness that they cannot

arguably establish themselves as innocent, arms-length investors.

        90.     In addition to these amounts, Wildforest Cattle Co. and MAP Enterprises received

the wrongful claw-backs described above.

        91.     Pursuant to 11 U.S.C. §§544, 548(a)(l)(A), 548(a)(l)(B), 550, and 551, Texas

Business and Commerce Code §§ 24.005 and 24.006, and/or Kentucky Uniform Voidable

Transactions Act §§ 378A.040 and .050, the Trustee is entitled to a judgment (a) avoiding and

preserving the transfers; (b) directing that the transfers be set aside; and (c) recovering the transfers,

or the value thereof, from the Investor Parties for any amounts in the “Total Payments Received”

field of the above table, as well as detailed in the attached exhibits. The Trustee is further entitled

to a judgment awarding his attorney’s fees. Tex. Bus. & Com. Code Ann. § 24.013.




                                                                                                   Page 43
Case 23-20084-rlj7       Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14                 Desc Main
                                   Document     Page 44 of 47



                           COUNT 6: DISALLOWANCE OF CLAIM,
                              SUBORDINATION OF CLAIM

        92.     For any of the foregoing investor defendants that have filed Proofs of Claim in the

Debtors’ bankruptcy case, the parties have based such claims on alleged bounced checks, returned

wires, and/or amounts otherwise allegedly due under investment agreements.

        93.     Under section 502(b)(1) of the Bankruptcy Code, the Court shall disallow a claim

to the extent, “such claim is unenforceable against the debtor and property of the debtor, under any

agreement or applicable law for a reason other than because such claim is contingent or

unmatured.” In connection with a Ponzi scheme, a claimant is only entitled to a claim for their net

loss suffered by the scheme after netting all gains and losses from the scheme (and backing out

prior receipt of income or other profits). In the alternative, a claimant is only entitled to a claim for

the amount of their claim that represents principal amounts lost (and not interest or other profits).

The Trustee requests the Court to disallow the claims of the investor defendants except to the

extent that the investor defendants can prove the amounts that constitute their ultimate net losses

in the Debtors’ Ponzi scheme, and in the alternative, for the principal amounts of such unpaid sum.

        94.     Bankruptcy Code section 502(d) provides: “Notwithstanding subsections (a) and

(b) of this section, the court shall disallow any claim of any entity from which property is

recoverable under section 542, 543, 550, or 553 of this title or that is a transferee of a transfer

avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of this title, unless such

entity or transferee has paid the amount, or turned over any such property, for which such entity

or transferee is liable under section 522(i), 542, 543, 550, or 553 of this title.” The Trustee requests

the Court to disallow all claims of the Proofs of Claim of any of the foregoing defendants to these

avoidance claims to the extent they received avoidable transfers described above until such time

as the defendant has paid the amount of the avoidable transfers.


                                                                                                  Page 44
Case 23-20084-rlj7      Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14               Desc Main
                                  Document     Page 45 of 47



       95.     Pursuant to 11 U.S.C. §§ 510(c)(1) and 105(a), the Court should equitably

subordinate any claimants whose conduct resulted in injury to creditors or the conferring of an

unfair advantage. The Trustee reserves the right to seek to subordinate any of the claims of the

defendants to this action to the extent they engaged in such inequitable conduct, such as holding

blank checks of the Debtors or otherwise taking any role in the Ponzi scheme other than as an

innocent arms-length investor.

                                 RESERVATION OF RIGHTS

       96.     During this Adversary Proceeding, the Trustee may learn through discovery (or

otherwise) additional facts and circumstances regarding the relationships among the Debtors, their

affiliates, defendants herein, and other third parties that were unknown to the Trustee as of the date

of this Complaint.

       97.     The allegations in this Complaint are formed on the Trustee’s ongoing investigation

to date regarding the Debtors’ transactions.

       98.     The Trustee reserves all rights to supplement and amend this Complaint, including,

without limitation, the right to: (a) further state, allege, or aver additional facts and information;

(b) seek to avoid additional obligations, transfers, or conveyances; (c) seek to recover additional

transfers; (d) modify, add, subtract, revise, or otherwise amend the parties; (e) allege additional

defendant parties; or (f) allege additional causes of action that may become known to the Trustee

at any time during this Adversary Proceeding through discovery or otherwise, and for all such

amendments to this Complaint to relate back to the same.




                                                                                               Page 45
Case 23-20084-rlj7   Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14             Desc Main
                               Document     Page 46 of 47



                                          PRAYER

      The Trustee respectfully requests the Court to award a judgment:

             a.      Avoiding, preserving, and awarding a money judgment against the Family
                     Member parties in the following amounts based upon their transfers from
                     the Debtors: Crystal McClain - $1,720,000.00; Chelsea McClain -
                     $960,000.00; Piper McClain - $2,347,500.00; and Kristin McClain -
                     $2,347,500.00;

             b.      Avoiding, preserving, and awarding a money judgment against each of the
                     Investor Preference Defendants for the value of the total amount of
                     payments from the Debtors and the reclaimed/retained cattle;

             c.      Avoiding, preserving, and awarding a money judgment against each of the
                     Vendor Preference Defendants for the subject payments from the Debtors;

             i.      Avoiding, preserving, and awarding a money judgment against each of the
                     Fraudulent Transfer Defendants for the value of the payments from the
                     Debtors;

             j.      Disallowing the Proofs of Claim of each of the defendants herein who is
                     liable for an avoidable transfer and not remitted payment, and subordinating
                     any claim to the extent of other inequitable conduct;

             k.      Awarding prejudgment and post-judgment interest at the maximum legal
                     rate and to the fullest extent allowed by applicable law against each of the
                     defendants to this action, as well as attorney’s fees;

             l.      Awarding the Trustee his costs and expenses in this suit against each of the
                     defendants to this action; and

             m.      Awarding the Trustee such further relief, general or special, at law or in
                     equity, to which the Trustee may be rightfully entitled.




                                                                                          Page 46
Case 23-20084-rlj7   Doc 330    Filed 03/02/25 Entered 03/02/25 18:27:14      Desc Main
                               Document     Page 47 of 47



                                        Respectfully submitted,

                                        /s/ Hudson M. Jobe
                                        Hudson M. Jobe
                                        Texas Bar No. 24041189
                                        JOBE LAW PLLC
                                        6060 North Central Expressway, Suite 500
                                        Dallas, Texas 75206
                                        (214) 807-0563
                                        hjobe@jobelawpllc.com

                                        SPECIAL COUNSEL TO THE TRUSTEE

                                        Alan Dabdoub
                                        State Bar No. 24056836
                                        adabdoub@lynnllp.com
                                        LYNN PINKER HURST & SCHWEGMANN LLP
                                        2100 Ross Avenue, Suite 2700
                                        Dallas, Texas 75201
                                        Telephone:     214-981-3800
                                        Facsimile:     214-981-3839

                                        SPECIAL COUNSEL TO THE TRUSTEE




                                                                                   Page 47
